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IN THE UNITED sTATES DISTRICT COURT F’*"~i¥-"* »' 7 o.c.
FoR THE WESTERN DISTRICT oF TENNESSEE 0
wESTERN DIVISION SJUL "5 PH 2= 06

 

UNITED STATES OF AMERICA,
Plaintiff,

v. No. 05-20110-B/P
05-20111-B/V
05-20112-B/P

RAFAT JAMAL MAWLAWI, 05-201 13-B/A11
05-20130-B/V

Defendant.

 

ORDER OF REFERENCE

 

Before the court are motions of the Defendant, Rafat Jamal Mawlawi, for Consideration
of Bond Due to Medical Conditions filed in the above five cases presently pending before the
court. Because only one hearing needs to be conducted in regard to all of Defendant’s motions,
these motions are referred to the Magistrate Judge Tu Pham for determination Any objections
to the magistrate judge’s order shall be made within ten (10) days after service of the order,
setting forth particularly those portions of the order objected to and the reasons for the
objections.

sick
IT IS SO ORDERED thisd ____day Of July, 2005

dana

1 DANIEL BREEN
D STATES DISTRICT JUDGE

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a 55 and/or 32(b) FRCrP on 2 Q’a.)

 

    
 

UNITED sTATE DISIC COURT - WESTERN D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Honorable J. Breen
US DISTRICT COURT

